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UNITED STATES DISTRICT COURT
SOUTHE.RN D}STRICT OF NEW YORK

 

 

vX
RUTH ROJAS DUARTE, Index No.: 15-¢v-0_6324
_ - ; Piaint:iiff,l
_ fag?i”$t* ` _ _ ' '
: S’T.,'BARNABAS-'HO'SP!TA~L,
Defex`ida'nt.

PLA;INTIFF,RUTH ROJAS DUARTE’S MEMORANDUM OF LAW.IN OPPOSITION
TO DEFENDANT’S MOTION FOR SUMMARY JUDGMEN'I`

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rnELrMiNARY sTArEMENT
Plaintiff Ruth Duarte (“Plaiiitiff’), a disabled Hispariic female, seeks redress after she Was
subjected to unlawful discrimination and retaliation at the hands of her employer, Befendant
herein. Specifically, Plaintiff commenced employment at S`t. Barnabas Hospital :'(hereinaf_ter
“Defendant” or the “Hospitai”) in or around 2007 as a Clin_ician.v Over the course ofl_ier sevenéyear 5
tenure, Plaintiff Was subjected to repeated discriminatory comments, `harsh,-.~unvvarranted, and
disproportionate discipline, and a hostile Work environment by her immediate superv~isors_,
.E_dgardo. Quinones (“Qninones”) and Miiagros Aree-Tomala (“A'rce”)t Mak_ing matters'.'Worse-,
When P'l'aintiff objected to Defend-ant’s unlawful and unethical mandates Whieh compromised the
integrity and effectiveness of the Hospital’s treatment for patients, and amounted to fraud upon
the _State of Nevv York, Plaintiff Was met With fierce retaliation and eventually terminated for
standing against Defendant. Aecordingly, Plaintiff brought the instant matter alleging employment
discrimination and retaliation in violation of the New York State Hurnan Rights Lavv (“SHRL’°),
" ` the New Yorl< City Hunian Rights Law (“CHRL”), Title V11 of the Civi1Rights Aet of 1964 (-“Title n
_ V'll”)_, the Farnily'and Medic_al Leave Act (“EMLA’§), the Amerid:an:s With_ l)isabilities Aetoi" 1990 :' "
'. (¢.:¢_ADA”), and N'evv Yorl<liabor Lavv Section 740/7411. 5 l 55 v v l n
Unsui'prisingly, Defendant categorically denies any».vvrongdoingand bringsthe instant

motion seeking summary dismissal of Plai.ntiff’ s Compiaint. :Plaijntiff respectfully submits vth-is- v

 

'1 Plaintiff notes that she also alleged violations of the Faii Labor Standaid`_s Act (“FLSA”) and the Nevv York Labor"
'LaW (“NYLL”) for Defeiidant s faiiure to pay her oveiti_me and sti aight pay wages thioughout her tenure as a clinician~
pat the Hospital. (l2ef_. Ex 4 (“Conipl. ”) at p_. 15). On 01 about Aiigust 24 20`,16 Plaintiffjoined as an opt,in Plaint-iff
in the collective action Khansari et al v S_`t Bai"nabas Hosp` No. 15 CV-1803 (the “Co'llee;tiv`e Si'iit”) (Def EX. 22).z ,
Altho\_igh Plaintif_f originally intended to Withdravv as an opt~ in Plaintiff iii th`e` Cellective Suit atter further discussions
With eou`nsel Plaintiff has decided to remain as an opt in Plaintiff in the Colle'ctivie Snit Aecordi'ngly, Plaintif_f
withdraws all claims for overtime and straight time Wages undei the FLSA and NYLL herein and shall pursue such
b claims solely in the Colleetive Suit. . .

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memorandum of law in opposition to Defendant’s l\/lotio`n for Summary Jud§ment and avers that,
for the reasons set forth in detail below, Defendant’s l\/lotion should be denied in its entirety,and

this matter set down for ti'iai.

sTATnMEnT.t)FFAC'ijs v
Plaintiff respectfully refers the Court to Plaintiff’s Counter Statement of Material li`:acts
~ pursuant to Local Rule 56.1, the Defendant’s Statement pursuant to Local. Ruie 56.1, Wliere not
disputed, the Decl'aration of l\/ie§'an'S. Goddard, and all exhibits annexed thereto for a full recitation

of the facts relevant to the determination of this motion

MMI
The Second Circuit has ruled that the granting of a motion for summary judgment is a
1 drastic remedy, Which must be used “sparin§ly. ” Gallo v Prudential Residentlal §e_rv., 22 11 3d
1219 (2d Cir. 19-94). The burden is on the moving party to establish the absence of any material

factual issues. CeloteX C'o_rv .__v. _Catr_ett, 477 U.S. 317 '»(1986). In making this determination, the l

 

5 court “must resolve all ambiguities credit all factual inferences that could rationally be drawn in
favor of the party opposing summaiy judgment, and deteim_ine Whethei there is a genuine dispute
as to a material fact, raising an issue for trial.” McCarthv v. 12'un&-Brad-street?€orp'.=, 484 F.S'd 184
(2d Cir. 2007)`. A fact is “m'aterial” if it is one that “rni§ht affect the outcome of'the suit under the 5
governing law ” Anderson v. Libertv Lobbv, Inc. 477 U § 242, 248 (1986) 1411 issue of fact is

“§enuine” if “=the evidence is such that a reasonable jury could ieturn a verdict for thc nonmoving

party.'” l_d_.

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ln reviewing such a motion, “the judge must ask . . . not Whether 1 . . the evidence
unmistakably favors one side or the other but vvhether a fair~minded jury could return a verdict for
the plaintiff on the evidence presented.” .`leffrevs v, _Ci_tv ofNeW York, 426 F.3d_ 549 (2d_Cir. 2005).

“Assessments of credibility and choices between conflicting versions of the events are matters for

 

the jury, not for the court on summary judgment ” Rule v. Brine Inc., 85 F. 3d 1002 1011 (2d Ci1
1996'), I'f there are any doubts as to the existence of a triable issueof fact or if a material issue of
fact is arguable summary judgment must be denied. Ja_roslawicz v. Seedman_, 528 F.2d 727, 731
(zd Cir.’ 19’75).

The Second vCircuit has cautioned that “[W]her'e an employer acted With discriminatory
intent, direct evidence of that intent Will only rarely be available so aftidavits_`and depositions
must be l carefully scrutinized for circumstantial proof lWhicli, if 1:)_,€'\:liev<_ed,v Vvoul_d shovv
discrimination ” Taddeo v. L. 1\/1 Berrv & C;o., 526 Fed. Appx. 121, 122 (2d Cir 2013). For this
reason, the Second Circuit has repeatedly cautioned against gianting summary judgment in `
employment discrimination cases because the employer . s._intent is often at issue and is difficult to
determine summit Y_. t¢wnor Av@ii,: 113 md -`106, 1111 1211 eis 1991/:)§‘11111=@¢<1, ?‘111111¢¢¢111@><1
of employment discrimination cases, summary judgment is d`<-)rdin'arily inapprot)riate"> because the

allegations therein're'quii'e exploration into an employer'.$ motivation and intent for an employment

 

degisi_@n§.” P@ai_o v_. AA,_F M¢oua.v§ 111@.,,14_0 F_.Sui$p»_Zd. 233,. 236 (N.D.N.Y, 20011)(§11;@11;1;§ egan
_, v. Ambikalc@m ., 1013 F.supp.za 297, 3-06~(s.n..N.Y: 2000»))_;_1311@;1;1/§1. near ij-,ari< union tree sch
_~Qi§_;_;,'s:s,<) F'.supp.za 275, 289 (*E.D;N.'Y. zook_$)rop;ni;ig:rhat [S]mmnaryjudgméinj..f, shquid'be`
granted Wit`h caution in employment discrimination`,ea_s,es_”_).: n

,'For the reasons set forth beloW, Defen'dant’s motion should be denied in its entirety

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THE COURT MUST ANALYZE PLA:)$HF‘§}S DISCRIMINATION AND HOSTILE
WORK ENVIRONMENT CLAIMS UND'ER A TOTALI'I`Y ._OF THE C!RCUMSTANCES
ANALYS_IS

Recently, in Walsh v. N. Y C Housing Auth. the Seco`nd Circuit emphasized that
employment disci'imination cases must he analyzed under the totality of the evidence and that “no
one piece of evidence need be suffici:ent, standing al_one,, to permit a rational finder of fact to infer
that defendant[s’] employment decision Was more likely than not motivated in part by
discrimination.” 828 F.B,d 70, 76 (_Zd. Ci'r. 2016). _ Specitically, in '_Wa_l~s__~h, the Second Circuit
determined that three pieces of evidence, While insufficient on their own to raise an inference of
discrimination, had to be considered together and, when considered together, Were sufficient to
carry plaintiffs burden under the McDonnell Douglass framework Id. In reaching this decision
the Second Circuit opined that much like a jury Would, the court had to view the record as a Whole,
rather than in piecemeal,l to determine Whether_ the plaintiff had met his or her burden l_d_.

Here as demdnstrated§-helo\:v,' the "reco-rd§.is‘:reple-te 'vv.;ith: evidence both testimonial and

v documentaiy, that When taken together as required unde1 Walsh at a minimum raise a question

of fact precluding summary Judgment

. . . w '
PLAIN»T}FF’_S_DIS_.CMMINATI ojiN AND RILTALiATIoN CAUSES OF ACTION
snowle NoT 311 DISMISSI:

 

A. Piaintiff"s I)lscrzmmatlon Ciaims are not Barrcd by the Election of
Remedies Pr'ovision Under New York Labol L_aw § 74{).

,Defendant argues that 'Plaintifi” s discrimmation~ claims are barred hiy the `Election of -

Remed-ies Provision under New _York Labor Law §§ 740/7411 ln making such an argument,

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Defendant ignores the growing body of case law that recognizes that the Waiver provisions of
Labor Law § 740 should be narrowly construed so as not to bar claims of employment
discrimination As such,» Defendant’s argument must be rejected

A majority of federal courts that have-considered the question have held that the § 740
Waiver provision "’waives only other legal rights and remedies that protect against the same Wrong
that the statute itself prohibits'... ’protectin'g the rights of employees Who report violations of law
that present a danger to public health or safety."' Barber v. Von Roll _U.S.A., Inc. No. 14~CV-907,
2015 U.S. Dist. LEXIS 1l2198 at *16 (N.D.N,Y. AugustZS, 20l5)(quotiniz Barl<er _v. Peconic
Landing at Southold,__ Inc., 885 F. Supp. 2d 564, 569 .(E.D1`N.Y. 2012)(cluoting Collette-v. St. Luke’s
maROOS@v@lf HOS ~1 132 .F. S._upp. _Zd"zsé, 267 (s..i:;).N».Y.' 2001-). see also Magn@ai v. crossroads _
Heai_thcare Mgmi. ,'LL.C., NO ,14¢.(':1_/_-6679 2015 11 s. nisi LEXis 118194 (E_. i) N Y sept 3

2015); Kapne'rv. Riverside Wine &Liquor In_c No._ 09 CV-6565,2011U.S Dist. LEXI__S l25014

 

(W.D.N.Y. Oct. 28, 2011);3121 v'.> T:ar'?et_Cor No 11 -CV- 2704, 2011 U. S Dist LEXIS 82515

hetiit (311:31j L11C N0110-CV-2638, 2010 U S Di'st

 

LEXIS 121351 (S 19;N.' Y Nov.1:6,2010)
Under such a construction, discrimination ciaimsare notvvaived by the p1eading=of a Lab.or
Lavv § 740 claim. Asthe court stated in"Bar'l<er v'.~ -Peco"nic Landing at Southold In'c ,

[T-]:he issue is Whetl1er Plaintifi‘s disability discrimination claims ,
protect against the same Wrongs that Section 740 prohibits The
court holds that they d'o_ not Specii_i_cally,the Human Rights Law
seeks to"' encourage programs designed _t_o ensuie that every
individual shall have an equal opportunity to participate fully iii the
economic cultural and intellectual life ot` the state; to encourage and
State 01` such state programs " and to " intimate and prevent
discrimination" in a variety of activities including employment
Similar'ly, the ADA is "designe_d to combat discrimination against

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persons With disabilities in every area of public life." The
Whistleblower statute, `011 the other hand, is aimed at protecting the
rights of employees Who report violations of law that present a
danger to public health'or safety. Because the ami-discrimination
statutes seek to protect against wrongs completely separate from
those sought to be protected by Section 749 there is no waiver of
any such claims 885 F. Supp 2d 564 569 (internal citations
omitted)

Sirnilarly the court in Slav v Target Corp. distinguished between plaintiffs claim that he
was terminated because of race discrimination and an earlier claim of violation of Labor Law §749
following his report that a co-Worl<er locked.two employees in the freezer. Specii`ically, the court
opined: n v n l

Finally, in any event, W`hatever the tenor of plaintiffs alleged report
to company oftic_i_als, he is not alleging that he was terminated for
reporting a health-and- safety violation but rather because of both
his race and his complaint about racial discrimination on the part of _
the senior store managers ’l`hese concerns do not mirror the focus
of section 740 and hence take this cla1m outside the realm of the
waivei provision Indeed_, plaintiffs allegations suppoitingf his
claims under the St_ate and Ci_t'y anti~_ discrimination laws target the
alleging a pattern 01 harm that amounted to a hostile work
environment ».:- and are plainly focused on the notion that this
conduct Was racially motivated Since plaintiff is invoking
protections against such discrimination the concerns of section 749

' about public health and safety are not implicated and the
independent policies underlying the anti discrimination statutes
preclude dismissal on the basis cited by defendant Sla , v- T_ar et
Coi;p.,l\lo.ll-_CV-2794,2911U.S_.Dis_t LE_XIS 8251_5 at *13~ 14
(S. D N. Y. July 29 2911).

Tlie narrow interpretation of{_L'abor haw §749's waiver provision is especially important 1
when the rights that would potentially be barred are rights under the CliRL. As the court stated in
Cabre_r»a v _Fresli .Diiiec_t, LLC.., No 12 CV-: 6299 2913 _U. S Dist. LEXIS 121956 at *8- 9

(E.D.N.Y. Aug. 2~7, 2013»)§

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The purpose of the NYCHRL is to protect persons working in New
'Yorl< City against discriminatory employment actions based upon
protected classifications such as gender or disability. Section 740 is
aimed at protecting the rights of empioyees who report violations of
law that present a danger to public health or safety.’ Because the two
causes of action seek to remedy separate wrongs [a] literal reading

’ of [Sect-ion- 740's~waiver.___provision-] would dictate the absurd result
that 'When an employee brings a whistleblower suit, all concurrent
or future lawsuits brought by that employee, 111 any capacity
whatsoever are waived

l-iere, Plaintiff’s whistleblower claims under N.Y. Labor law §§ 740/741 are not based on
the exact same facts surrounding her discrimination claims Indeed, Plaintiff bases her
whistleblower claims upon her repeated complaints of unethical and unlawful actions with respect
to the Hospital’s billing practices and treatment of patients, while her discrimination claims as
discussed infra, are based orr entiieiy separate sets of circumstance, including comments regarding
Pia.intift"s hearing disability and race/national origin, the Hospital’s failure to provide Plaintiff
with :a reasonable accommodation-25 and instances of disparate treatmentandd_ispara`te discipline n
n as coinpar:ed:to_ her similarly sitiiated; male andj.:'Caucasian colieagiies. Accordi.rig.ly, P'laintii`f has
. not waived her ri§ht to bring separate causes of action under the discrimination laws and L-abor -

Law §§ 740/741.

 

2 P_l'aintiff notes that"`sh'e` 'voluntai'-ilywithdrew-her failure to'acc`omrno.'date claims as u.ntimely, which withdrawal was
confirmed by order dated Nover'nber 22 '2'016.(131<£ No 45). Even though Plaintiff’s failure to accommodate claims
were unti'inely, they may still be considered by the court in determining Plaintiff’s timely discrimination ciaims See
National R R Passenger C`orp v Moigan,- 536 U. S 101,113 (2002)(“The existence of past acts and the employees
prior knowledge of their occurrence, however-, does riot bar employees from filing charges about related discrete acts
so long as the acts are independently discriminatory and charges addressing those acts are themselves timely filed " '
Nor does tlie statute bar an employee from using the prior acts as background evidence in support of a timely '
claim”)(emphasis added); Pliili V Citv ofNew Yorl<, 2012 WL 1356604 at *;6 (E D Ni'. Y 2012)(“The other alleged
discriminatory acts (e. g.,_ derogatory gestures and disparate treatment) though not actionable m themselves may

 

they fall outside the statute of limitations”), Flvnn v N Y State Div of Parole, 620, F Supp 2d 462 483 (S D N Y.-
2009).

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Even if, arguendo,- Plaintiff’s discrimination claims are barred by the Waiver provision of
' v § 740, Which they are not, a majority of courts in the Second Circuit, citing constitutional concerns,
§ U.S. Cont. art. VI, cl. 2, have routinely recognized that the Wa.iver provision does not affect a
plaintiffs causes of action under federal law See Hurnohrev v. RAV Investigative.& Se_curitv
Srvs Ltd_, 169 F. Supp. 3d 489, 501 (S D. N. Y 2016)(f1nding the Waiver provision of § 740 did not
Waive plaintiffs federal FLSA claims); Malanga v. NYU Langone Me`d Cti., 2015 WL 7019819,
at *3. (S.D.N.Y. Nov. 12, 2015)(declining to read § 740(7) to preclude False Claims Act claim
because it 7Would be “seemingly incongruous” vvith'the Supremacy Clause); Hett_ler v__.: Entergy
Enters. ., Inc , 15 F. Supp 3d 447, 451 53 (S. D N. Y. 2014)(follovving the “canon of constitutional
avoidance and declin[ing] to interpret Section 740(7) as supplanting claims arising under federal
law”) _Sla}; v _'I`arget Co;}§;., 2011 WL 32789',18 at *4 (S D _N. Y. July 20, 2011)(1nferr1ng that _
Wh1stleblower Lavv “d_oes not purport to reach” federal claim“ as a means of avo1di_ng a serious

potential constitutional defect 111 the state enactment”) Kramskv v. Chetrrt Grp LLC 2011 WL» v

2326920 at *6 n 6 (S D.N Y. lurie 13 2011); cf Collette v St Lu_i`<ej s Roosevelt flosp 132 v

’F Sup_p 2d 256 265 67 268 n. 8 (SDNY2001)(lea\/1ng open Whether election of a fly ,, " v

Whistleblower LaW action Waived fede1a1 rights but noting that‘ ‘the policy of constitutional 1 1 n

avoidance *We'ig_hs heavily 111 favor of seeking sensible alternatives to any construction of the Act
Which vivould require automatic _Waiver of _the plaintiffs federal rights’:’).
Ac__cordingly, then most that Pl_airitiff has waived, if she has waived any claims at all are her

claims under the SHRL and- CHRL, and Plamtift` may p1oceed With her claims under the applicable

feder al laws Therefore, Defendant s argument must be iej acted and Summary Judgment should be ~ ' = - -'

denied ' ll z

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B. P§aintiff Has Esta§)lished Her Prima Facie Case of Discl‘imination.

To establish her prima facie case of discrimination under the SHRL the ADA and Title
Vll Plalntlff must demonstrate that; (l) she ls a member of a protected class; (2) she Was qualified
for her posltlon (3) she Was subjected to an advelse employment action; and (4) the adverse
employment action occurred under circumstances giving lise to an infe1ence of discrimination
Weinstocl< v Colombia Un'iv., 224 F. 3d 33, 42 (2d Ci1 2000) Notably, PlallitlfP s “burden of
proof in a discrimination action is de minimis at the prima facie stage.’-’ Quarantino v. Tiffany_ &
@, 71 md 5.8, 65~66.'(2;1 ciad 1995). s§_@ also'oraham v. L<mg lsland 11.11.. 230 md 3a 40 (2d
Ci1.2000)(“Tlie burden a plaintiff, alleging that [s] he Was discliminated against by [lier] employer
l carries to Survive a summary judgment motion at the prima facie stage is a minimal one”).
.' in contrast Plaint1st burden under the CHRL is significantly more lenient lt is well-

> settled that tile CHRL rs expressly more protective than the SHRL and parallel federal law Pryor

 

'v. 1111¢:&_"/1111¢1» j LL’P.., 992'F.supp'.2-;l 252, 259--(s..D.N.Y. 2014). rhus, the Court must “analyze_

v `-Pl-aintift’ s NYCHRL cl'aims':sep_ara"tely and independently from any:=federali;and-:state law claims-.’i

l Hélaandéz;v. Kalsman 103 .A.l)._a_¢l i-O€_§.<l_srj;l)¢p’r 2912). AS the sabena eiicall,.~lla';s made clean l
tile provisions of the CHRllareto~"-‘be' construed liberally regardless of ththcl federal"or Nevv `- '
York'g;at@:`ciyil»and iranian rightsjlavvs, including those laws With provisions comparably~Wor.ded
haven been So_ construed.i’ l_\/_l~illalik v_.'.Cr_`edit Agr.i_cole _Cheureux N. Arn Inc.. 7 l 51"F.3d 102, .`10:9
(2d Ci1.2013).l3venif a claim fails under comparable federal or state law it may still pass muster

n under the CHRL Hernandcz v. Kaisman 103 A. D. 3d at 106 (i`lnding that plalntii`i"s fallure to state ` "
a:clai=m for retallatlon;.rulideljthe SHRL did “no,t dispose ot=the question:.Wh'etller plaintiffs _City b

11111'¢1311~11 15151111 viabl@f"’). Thus,`:@ establish a claim er diseriml:na:ion under-1111 cHRI§,' Plaimlff

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“need only show differential treatment ~ that she is treated less Well - because cfa discriminatory

 

intent.” Prvor,v. Jaffe & Asher, LLP., 992 F.Supp.2d at 257. §e§ also, l\/lihalik v. Credit Agricole

 

Ch_eureux N.»Am. lnc., 715 F.Bd,at llO.

v Here, D_efe_ndant argues that Plaintiff has not established a prima facie case of race/national
origin ahdior gender discrimination because Plaintiff has not deducedevidence that she vvas
subjected to any adverse employment action3 giving rise to an inference of discrimination
Defendant’s argument must be rejected

The standard used to establish an inference of discrimination is a-“flexible [one] that:can
be satisfied differently in differing factual scenarios.” Ellis v. .Centurv 21 Der_)’t Stores, 975
F.Supp.2d 244, 271 (E.D.N.Y. 2013). Indeed, “no one particular type of proof is required to show
that [the adverse employment action] occurred under circumstances giving rise to an inference of
'discrimination.” Ellis v Ceiiturv 21 Dep t Stores 975 F Supp 2d at 271 Further in determining
121/hetheranl inference of discrimination exists_, “"the court"must be"alei‘t to the fact that employers .`

are rarely so cooperative as to include a notation in the personnel file’ that then actions aie _ 

 

y motivated by factors expressly forbidden by lavv.”’

' 156 (:s;.n.,N,Y:. Apiii"i’<), 2007)(gu0111~1g C,hambj_ers v._ TRM_ fcva C;_rfs._;Co'm_;, 43~F.3d 29,'37 (2¢1'<:11.

 

. 3 lt' is not entirely clear whether Dei`endant ai gues that Plaintiff has not established the third element iii her prima facie
case that she was subject to an adverse employment action To the extent Defend`aiit does ai gue this, such position '
must be rejected lt is axiomatic that termination of employment constitutes an adverse employment action S__`_ee Pal
_v New Yorl< Univ., 20l0 WL 289305 at *4 (S. D N Y J an 25., 2010)(noti11g dismissal from employment constitutes
a "'retaliato'ry action ’.) Here,' it is undisputed that the Hospital tel minated Pl'aintifl`s employment effective Aug'ust 6,
2014 and 'Was therefore subject to an adverse employment action Moreover, it is Well- settled that a hostile work
environment constitutes an advei se employment action See Amtrak v Moi‘gan, 536 U. S. l`,()l 117 (2002)(“As long
as the employe1 has engaged in enough activity to make out an actionable hostile Work envi.i omnent claim an unlawful -

' employment piact`ic`e has occurred”); Grosso v ueens Co_l,lgg~ 2004 WL 58376;'7 __at *_5 (S D. N Y._ Mar 23 ,
'2004)(“Ai'1 adverse employment action can take the form of a hostile wo1k environnient”). As set iorth iri Boint II, ¢.
li'z'zfr.a, Plaint;iff has established a viable hostile Work environment claim and when the entire record is viewed in

` totality, .Plaii'itiff has established that she was subjected to an adverse employment action and has satisfied the third
pr...ong of her prima facie case of disciimination v .

 

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_uinb v. WestLB AG, 2007 WL 11539914, at _:_

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1994)). Therefore, most plaintiffs must rely upon circumstantial evidence §§ Graham v. Long
v anna R.R., 230 F.3d 34, 38 (2d cir. 2000).

Defendant’s continued discriminatory remarks towards Plaintiff raise an inference of
discrimination sufficient to defeat summary judgment lt is Well settled that “actio.ns_ cr remarks v
made by decisionmakers that could be viewed as reflecting discriminatory animus may give rise v
to an inference of discriminatory motive.” Q§ggry_ y. Daly, 243 F.Bd 687, 697 (Zd Cir.
2001)( citing Chertkova v. Connecticut G_eneral Life lns. Co., 92 F.3d 81, 91 (Zd Cir. l996)(inter11al
quotation marks omitted))). Here, Plaintiff attested to numerous comments by 'Q'u_ir_ione's regarding '
her hearing disability and national origin including but not limited tc: repeatedly being called
“deaf"- in front of her .co-Worl<ers being mocked`for her accent and told to go back to school v
_ because her English Was not good enough being called an ‘irnmi;grantij and being mocl<ed for her .
, immigration status, being told to go back to Ec'uadoi, and being mocked for her disability and
status as a'victirri of domestic violence Furt_he'r, Plaintiff testified that'she 'Was discriminatorily '
assigned female patients because Defendant Wan ted to protect male clinicians fiom being enticed »
.-by Women patients l\/loreovei, Plaintiff testified to at least one Caucasian comparator Who v'
1 although engaged in the same alleged infractions Was not immediately disciplined as _P_laintiffwas.
Inde`ed, upon information and ,belief, the Caucasian Worker Was not disciplined at'all until the union
became involved k k

vFurth`_`er:, Plaintiff" has undoubtedly established her-discrimination claims under the less
burdensome C_HRL_ standard Preliminaii]y, it is Well~ settled that a plaintiil Who sufficiently states
a claim of discrimination under the SHRL also estabhshes a claim for discrimination under the f

CHRL. See Pryor, at 260 (find'ing plaintiff stated a_ claim under the CHR_L because she adequately

'.`11v

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pled a claim under the SHRL); Winston v. Verizon Servs. Cori)., 633 13 .Supp.Zd 42, 48 (S.D.N.Y.
2009)(“[I]f a plaintiff successfully states a claim under the NYSHRL, then a fortiori she has stated
a claim under the NYCHRL”). As discussed Supra, Plaintiff has clearly stated viable claims of
discrimination under the SHRL and applicable federal law. vAccordingly, Plain-tiff has established
her discrimination claims under the CHRL and Defendant’s.l\/lotion for Summary Jndginent should
` be denied l

Even if Plaintiff has not established her claims under the SHRL and federal standards
(Which she has), she has indisputably satisfied the standard for discrimination and harassment
under the lower legal threshold governing cases brought under the CHRL. Speciiically, the record
demonstrates that Plaintiff: (i) Was subjected to harsher, more freqne'nt, and more immediate
discipline than her comparators; (ii) Was'subjected to clearly discriminatory comments about her
t disability and national origin including comments that she W_as “dea;t", remarks about her
immigration status,, and comments that she should go back to Ecnador; and (ii.i) discriminatorily
assigned patients When viewed cuinnla’tively, Pl'aintiff undoubtedly satisfied her lessei"burden

under the C_HR_L vvher;e “even a single comment can be actionable ” Mihalil< _v Cr_edit A ricole

 

Cheureux i\i. Am. iri<;., 715 F.:i<i v102, 1511 -(2d cir. 20-1.3).

 

, Accordingly,'Plaintiff has established her burden under the applicable federal, state, and

city laws and Defendant’s l\/lotio_n for Suiiimary Judgment should be idenied.";

 

4 Defendant s- contention that Plaintift` cannot show an inference of discrimination because Arce and Quinones hired
Plaintiff thus invoking the“ same actoi” doctrine must be rejected I-ndeed it is well settled that the same actor defense
is not dispositive See Benedith v M__alv_erne _Union Free S_cli`. Dist 38 F. Supp. 3d 286, 319 (E- D. N. Y 2014)_(guoting
vi\/l"e'i‘rinon v Clifl"ord Chanc.e US L_LP., 667 F. S_iipp. 2d 334 351 (S D N. Y. 2009)(“Even at the summary judgment »
stage of litigation ‘the` same- -actor inference' is permissive, not mandatoiy, and even if the same individuals made both
decisions the Court Would not be compelled to give [the defendant] the benefit of the iiifer`ence”’).- ' ’

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C At a Minixmim, a Qt_.iestion of Fact Exists Preclnding Sinnmary Jndgment
on P}aintiff’s Whistlelelower Retaliation C£aims.

Defendant argues that Plaintiff’s whistleblowei retaliation claims under Nevv Yorl< Laboi
Law §§ 740/741 should be dismissed because (i) there isno evidence Plaintiff engaged in any
protected activity that Defendant was aware of and (ii) l)laintiff has 2failed to show va causal
connection to any retaliatory acts. Defendant’s arguments must be rejected l

i. Plaintiff Enga`ged in Protected Activity

Plaintiff engaged in protected activity When she repeatedly complained of the HOSpi-tal’s
unethical and unlawful mandates with regard to treating patients and billing for false sessions 'For c
starters, Defendant categorizes Plainti_ff’s complaints as merely those regarding fraudulent billing
and argues that since'fraudulent billing does not pose a danger'to public health or safety, Plaintiff” s
complaints do not constitute protected activity. This argument misses the mark. While Courts
have held that.complai_nts of only fraddulent billing do not constitute protected activity, (See §__h_in
v. Ch.inatown l\/lannoWe-r Proiect No ll CV- 5270, 2014 U S. Dist LEXIS 72573, at *35-36
(S. D. N Y May 223, 20_l4)), it is well settled that complaints of “ille"gal economic 01 financial
concomitantly creates substantial and specific danger to the pnbl_ic health and safety ”’ Villarin v
R_abbi Has_kel Loostein 2Sch.. 96 A D 3d l 5 (lSt Dep’ t 2012) Hei‘,e Plaint1ff’ s retaliation claims c
are based not only on her objection to fraudulent billing practices but also on her objections to the
Hospital’s direction that she performed services for,patients Whi¢fh would not benefit the patients
for the sole purpose of billing specific sessions to get more re1mbursement for the Hospital In '
essen'ce, Plaintiff objected to the Hospital’s unlawful and unethical billing practices___ and also to the

administration of Wrong therapeutic mental health services to patients in the Hospital’ s charge, an
1-3

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act Which a reasonable jury could find posed a danger to the public health and safety, or at least

posed a danger`to the health and safety the'patients of the Reverend David Casella Children’s
Services Program. §§ Villarin v. Rabbi Haskel Loostein Sch., 96 AiD.3d at 7 (noting that “there

~ is no requirement that there be a large-scale'threat, or multiplepotential or actual victims[;] . '-
rather la threat to any member of the public might Well be deemed sufficien ” to trigger a
“substantial and specific danger to the public health and Sat`ety"’).

Further, While Defendant makes much ado about the written grievance mentioned in
Plaintil`f’_s Complaint, going so far as to call it the centerpiece” for Plaintifi’ s Whistleblow.er,
retaliation claims, Defendant’s energy is entirely Wasted lt is Well~ settled that “the Nevv Yoik
Labor Lavv s anti retaliation provision unquestionably protects infoimal complaints made to an
'employer.” E_sin_illa v._ Cosmopolitan Club, 936 F.- Supp 2d 222 239 (S D.N. Y 2013)(gggt1L1g_
l Duarte v. 'l`-ri.-State th Med & Rehab P. C 2012 WL 2847741 at *3 (S D N Y. July 11,2012)).
"Here, Plaintit`f repeatedly testified that she openly and continually objected to the Hos'pital’s 2
_mandate that clinicians perrone unnecessary and uncalled fci services for its patients and her
ii supervisors instructions to inaccurately bill for and record services so that the Hospital could be
’ reimbursed at a higher rate. Plaintiff made these complaints to her supervisors mainly Arce,
verbally/5 on numerous:,occasions during her Weekly supervisory meetings.,lr`uither,_ it_ cannot be
argued that the l-lospital» vvas unawal’.e:o:f: Plaintift"s complaints When P_laintiff complained directly

to her'supervisors and raised these same complaints during her termination hearing Whicli Was '

5 Plaintif_f testified to such complaints at her deposition and attested to them again in her affidavit P-laintiff’s own
testimony as to the communications at issue constituted admissible evidence and is sufficient to-, at a minimum_, raise ,
an issue of fact precluding summary judgment §§ Yan v Navi .atois _G .' lnc., 2016 WL 7436485 at *l (2d Cii.
D_ec 22 20]6) See also Danzer v Nord_e_n S ' s Inc, 151 F 2d 50 57 (2d Cir l998)(declining to hold allegations
insufficient to survive summa1y judgment merely because they Were “self-seiving”); Walsh v N. Y C Hous Auth...
828 F. 3d_70 80 (2d Ci_r. 2016) _ .

   

 

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attended by her supervisors Arce and Quinones, as vvell as l\/larc Wolf, the Hospital’s then Director

of Huinan Resources Accordingly, Plaintiff engaged in protected activity under the New York

 

wild Edibles me 2007 WL 4468656,-.11 115 (s.o.N.Y§ nee 18, 2007> (piainarrs 01~11 oompiaiat

to supervisor suffices).

ii. P`Iaintiff I~Ias Estab!ished a Cansei Conncctio~n Suft"tcient to I)efeat
Su.mmary Judgrn_ent on her Whistieb!ower Reta!iation Ciaims

Def_endant argues that Plaintiff’ s Whistle-hlower retaliation claims further cannot Withstand
summary judgment because Plaintiff has not established a causal connection between her repeated ,
complaints and any retaliat_ory"actions. Defendant’s argument should be rejected

Preliminarily, it should be noted that it is not Plaintiff" s burden to show a causal connection

vvhen establishing her Whistleblovver retaliahon claim S__ee Pal v Nevv Yorl§ Univ., 2010 W_L " ` g l ' t

2893 05 at *4 (S D. N Y Ja'n 25, 2010) Indeed the NYLL provides that “it shall he a defense that
the personnel action Was__ predicated upon grounds other than the einployee’ s exercise of any rights :.
protected by this section ” N Y Lah Lavv § 741(5)(en1phasls added) In the context of construing

>' a lsuhstanti_.ally identical provision in NYLL_ § 740, W_hic`h prohihits similar retaliatory employment

v actions ontsi_de the patientcare: conte§rt,`it has been noted that “the affirmative defense afforded _
employers under Section 74'0(4)(<.:)> indicates that the burden of proof lies With the lenzx;)¥oyer to 7
show a lack of causal connection'hetween"the employee’s protected conduct and the employer’s
adverse personnel actic')n".’7 Nohle v93Un1v §lace Coro. 303 `F.Supp.Qd 365, 374 (S..:D.N.:Y."

20.0'3)(@11111311;513 addeci)l

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The temporal proximity between Plaintiff’S termination and her repeated complaints is
sufficient to raise a question of fact precluding summary judgment Courts recognize that most
retaliation “is not carried out so openly as to provide direct proof of it.” Sanders v. New Yorl< City
hinman Res:`Admini:, 361 F.3d 749, 755 (2d.Cir. 2004). Thus, Plaintiff` s burden is “a light lone, b
usually demanding only that the protected activity preceded the adverse action in order to Satisfy_"'
the causation requireinen .” Raniola v. B,rattnn, 243 F.3d 610, 624'(2d Cir. 200l). The See_on_d:
Circuit “has not established a specific delay between protected activity and adverse employment l
action that defeats an inference of causation-.” B_ur_l._<V:bile v. Bd. of Educ. of Hastings-On¢hl_udson
Union Free School Dist.', 4ll F.3d 306, 314 (2d Cir. 2005). However, Courts have held that as
long.as fourteen monthsis sufficient to raise an inference of causation thus precluding Summary
judgment S_ee Ran1ola v -Bratton, 243 F. 3d at 624_. § b l

Here §lai-ntiff testified that she began to object to Defendant’ s unlawful and unethical
practices after Part' 599 was amended in ' 201-21 v'l`-hereafter, as -- Defendant’ s own evidence
dannenstrates,D Plain_tif_f became the target of multiple disciplinary actions including-written and
verbal warnings-, and -a`two day suspension lndeed, Plaintiff went so far as to complain of '

v _ retaliation to Patiieia Sniail Defendant s former Program l\/.lanager in July 2014 but to no avail

Thereafter, in or around luly 2014, §laintiff’ s employment was terminated for an alleged infraction n v j_

which the Hospital administration directed her to perform and_which, as the Hospital`knew, was

based on circumstances that regularly/occurred and/or were condoned by Quino`nes and Arce. Ev:en , ` `

after §laintiff’"s"tennina,tion,' at"her grievance hearing, §laintiff again complained of Defendant’s : : l §

. v junlawful and_.unethi;ca-l` practices but still to no avai`l. lust a mere conp`l:e of days after §laint=iff’s

complaints .at,the hearing, 'Plaintifffs termination was affirmed and, upon information and "belief,,..

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no investigation into her complaints was ever conducted Clearly, the temporal proximity between
Pl`aintiff’ s complaints, her subsequent disciplines, and her termination (and the affirmation thereof)
raises, at a minimum an issue of fact precluding summary judgment Se__e_ Esp_inal v. Goord 558
§. 3d 119,129 (2d. Cir 2009) (siX month temporal gap between protected activity and adverse
action sufficient for finding of causal connection); Gorman-Bakos v Cornell Coon. EXtension
252 §.3d 545 , 554 (2d Cir. 2001) (iive month gap); Grant v_., Bcthlchem Steel Corb., 622 §;2'd 43,
45~46 (2d Cir. 1980) (eight month gap); vSalaz:ar v. Bowne Rea_ltv Asso,ciates,'LLC, 796 §.Supp.Zd

378 385 (E.D.N.,Y._2011) eight month gap.); terms v_. New vera Univ., 2010 WL'1_37_2_'541, at

 

*6 (S. D ..N Y. l\/larch 29 2010) (te'n month gap) __S__ee also Rodriguez v. Citv of N Y. 644 § Supp 2d
168,192 (E D. N. Y 2008) (iinding a causal connection between plaintiffs protected activity and
subsequent termination even_Where S.uggestion to terminate plaintiff occurred before plaintiffij 7

EEOC complaint was submitted-).

D Defendant’s purportsw last ii*ieat:ien far Termi`nating Plaintifi”s` "

Once the plaintlff` establishes her primafacz'e cas',e the binden switches to the defendant to l iv .'

articulate nondlscrimmatory reasons for the adverse employment action `\/Icl§)onnell Dcu' las -

 

` Corp:'v,._ :Gr__een, 4ll U.S,` 79_2, 802 (1973).. lf,the defendant satisfies its burden_, the burden simply

switches back to the plaintiff, who canlprevail if she proves the defendant’s profferedireasons are
pretextual iv l\/chonnell §oualas Corp v. Green' 4il U.S. at 8'04. §or~ purposes of this motion o'n=l-y,:
°'Plalntlff assumes that Defendant s proffered reason for terminating Plaintiff s employment is '
sufficient to carry the Hospital’s minimal burden The evidence presented., however demonstrates

» that the reason offered by Defen'dant_is pretextual
_ , . . _ 17

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lt is Well-settled that Plaintiff need not show that the employer’s proffered reasons are false
or that they did not play a role in the employment decision Ra_ther, Plaintift".only needs to show
that those We-re not the only reasons, and that the discriminatory or retaliatory motive played some
role in the decision Holcomb vt lona Coll,, 521 F.3d 130, 137 (2d Cir. 2008) (.emphasis added). '
' I-n proving preteXt, a plaintiff may rely upon the same evidence that comprised her prima facie
case, Without more. Cronin v. Aetna Life Ins. Co., 46 F.3d 196, 203 (Zd. Cir. 1995). Nevertheless,
Defendant contends that Plaintiff cannot show pretext because she admitted to the alleged
falsification of patient records at her deposition Defenda_nt’s argument should be rejected

lt is Well settled that “evidence of pretext . . might include lesser disciplinary action taken

. against similarly situated co~Workers for similar Workplac'e policy violations,” Sattcrtield v. United

 

 

Parcel Serv.- lnc., 2003 WL 222-51314, at *15 (S.D.N.Y. Sept. 30, 2003); R`ar'nos v` l\/lar:riot Int€m

_I_r_l<L, 134 F.Supp.Zd 328, 345 (S.:D.N.Y. .2001)(tinding that the “n_iore favorable treatment of '

similarly situated male employees is sufficient to create a triable issue as to preteXt”);_ G'rah`am v.

 

rent stand .RjR., 230 ssa 3.3, 40 (2<1 ca another painter warsaw aiscri~nliaéwiy intent byj'i
ii _ presenting facts Whic'i_i show that'a similarly situated-employee outside of his.or herprotected class
b Was_ not disciplined in the same manner for similar misconductj. x l l l
Here, therecord shows that clinicians Were instructed to`i‘tii<” or “play” With the t_ime.on
: patient records so that they could bill for more individual sessions and more patients each day'.
This conduct was conddi'ie"d' and even mandated by the Hospital’.s administration including
_Qiiinones and Arce. Moreover? the record demonstrates that thc Laser Arc report used to justify
'D:efendant’s allegations Wa-s commonly in contrast to patient records as patients often We.re' not

' registered at the time they entered the Ho,sp.i.tal and We_re often not yet registered at the time they

lS

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were treated by a clinician. Accordingiy, Defendant knew that the clinicians Were falsifying patient
records and chose to selectively discipline Pl laintiff the elinician who stood up and objected to
their practices l1 urther, Plaintiff testified to at least one other comparator Katie Naab a Caucasian
female, `who,Was not as harshly or swiftly disciplinedfor incurring the same alleged infractions
Defendant went after Plaintiff for With fer-v'cr.v

Viewing the evidence in the light most favorable to Pl_-aintiff,v a'rea.sonable fact-finder could
conclude that Defendant’s proffered_justification for terminating Plaintiff’ s employment was mere
pretext lndeed, it should be noted that, “the issue of pretext is ‘ordinarily for the jury to decide at
trial rather than for the judge to determine on a motion for summary judgment.~” Shain v. Ctr. for
JeWish H-istory, l:nc., 418 F.Supp.Zd 360, 366 (SlD.N.Y. 2005). As such, D..efendant_’s Motion for

Sumrnary Jud`gment regarding Plaintiff’s discrimination and retaliation claims should be _deni_edi.
_B_Q_I_H_Ull

Generally, in ordei to establish a hostile workenvironment under l"1tle` Vll the ADA and
the SH_RL, a plaintiff must show that (l) she is a member cfa protected class; (2) she experienced '
unwelcome ».harassment; -(3) the harassment was based on.her membership.in' the protected class;
and (4~) the harassment was severe or pervasive enough to create a hostile ::work environment

E_wing vi Coca Cola Bjottling Co. of N=.Y.`. Inc., ZOOl WL 76707'0, at *7 *'(S'-."D.'N.Y. Jun'e 25,

2001)(emphasis added) _Notably,. “the fact that the law requires harassment to be severe or g >'

"peivas1ve before it can be actionable does not mean that employers aie free from hab1l1ty1n all but

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200()). lndeed, the work environment does not need to be deemed “unendurable” or “into_lerable”
in order to be deemed “hostile,” and the Second Circuit has‘ ‘repeatedly cautioned against setting
the bar too high ” Whidbee v Garzarelli Food Specialties inc 223 F 3d at 70. On a motion for
summary judgment, the question for the court is simply whether a reasonable fact-finder could
conclude, considering all the circumstancesj “that the harassment is of such quality or quantity that `
' .a reasonable employee would find the conditions of her employment altered for the worse.”
Whidbee, at 70. Even where multiple actions taken by an employer are not individually sufficient
ito create a hostile working environment, .“an accumulation-j of seemingly minor-incidents"’ may
combine to satisfy the standard. Phillipv s v. B'o:w'en:, 278 F.3d l03', 109 (2d. Ci~r. 2002)`; Wa~lsh v.

' N.Y.C neusin_ A`uth., szs`F.sd 70(2<1.011~.201'6).

 

:Further, to establish aldisc_riminatory: hostile work environment claim under the C_HRL ag
plaintiff “need only show differential treatment - that is she is treated less well ~» because of a .
vd1scr1mmatory intent, ” (l_)_ry_o_, at 257), because liability wider the CHRL is “determmed by the
existence 01 unequal treatment ” Be1r=nudez v City' ofl\l.i ". 2011 1 WL 12l8406, at *l 2 (S. D .N. V

: 'March 25, 201 l)'. Under this more liberal standard “e'ven a single com-mehta can be actionable ”`
_:'l\/lihalil<,atlll l n n v w

l\/lorecver, in Williams v. Ne_w Yor_k C_itv Housing Authoritv, 61 A D 3d 62,_ 76- 78 (lst
vDept 2009), the First Department recognizing the CHRL’s uniquely broad and remedial
purposes, which go beyond those of counterpart State 01 fedeial civil rights laws,” rejected the
,‘,‘severe and pervasive” standard for hostile work environment C'la`ir_`ns`. Rat_her, “the l\lYCHRL
imposes liability for harassing conduct that d_o,es:;_no,t qualify as ‘severe cr pervasive,’ andquestions

of ‘severity’ and ‘pervasiveness' are applicable to consideration of the scope cf permissible

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damages, but not to the question of underlying liability.” Bermudez v. City of New Yorlc, 20l`l
WL 1218406, at ”‘l2 (S.D.N.Y. l\/larch 25, 201l)(gML1g Williams, 61 A.D.3d at 62)). Therei`ore,
to survive summary judgment on her hostile work environment claims, Plaintiff-need only adduce
evidence of the existence of unwanted race/national ,origin, disability, or gender based conduct
because liability under the CHRL is “determmed by the existence of unequal treatment."’
Bermudez v. Citv ofNew Yo`rl< 2011 WL l218406, at *12. l
Here, Defendant argues that Plaintit`f has alleged nothing more than “'petty slights and stray
remarks” in support of her hostile work environment claims and, therefore such claims must be
dismissed Defendant is wrong. As discussed at length, supra, la reasonable jury could find that
the numerous instances of discrimination and harassment Plaintiiff endured at the hands of
ljefendant was sufficiently severe or pervasive to alter the terms and conditions of her employment
for the worse 70 brieily reiterate Plamtiff testified to numerous instances wherein she was treated
n less~well than her non-I-hspanic non~drsabled and male colleagues throughout her tenure v
nincluding, among other things: `_(i_) being subjected to relocated offensive "»and discriminatory
` remarks such as being called an immlgrant ” being told to go back to Ecuador, being called deaf,
and being mocl<ed for hei status as a victim of domestic violence; (ii) enduring harsher and more
immediate discipline for the same or substantially the same inn actions; and (iii) repeatedly
publicly humiliated in from of her colleagues 7his rude, harassing behavior occurred on a regular
basis A_dding insult to injury, when Plaintiff complained about such 1ssues, I_jefendan't deliberately
l ignored her complaints even though ljefendant knew, or Should have known, that Plaintiff Wa_s the

victim of ongoing and blatant d1scr1m1nation and harassment When viewed cumulatively, the .

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frequency and severity of the harassment Was such that it materially altered Plaintiff’ s Work
environment for the Worse. '

The conduct complained of by Plaintiff goes far beyond petty slights and trivial
inconveniences As the-Secon_d Ci.i'cuit"ha`s noted; there isa "‘l')road range of conduct” that falls
between the federal standard (severe and pervasive) anda petty slight or.trivial inconvenience See
Williarns, at 41, M'oreover, under the CHRL, “a defendants claim that the harassing conduct Was

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a “‘petty slight or trivial inconvenience is an affirmative defense Therefore, suinrnaryjudgment
is available only when the employer “‘can prove that'the alleged discriminatory conduct in
question,does not represent a ‘borderline’ situation but one that could only be reasonably

interpreted by a trier of fact as representing no more than petty sli»ghts or trivial inconveniences.”’

t .,2016 W`L 395972.,9. at *12_ (S D .__N Y July 20 2016)(guoting Williams at-

   

Phiin v. each co
41)). See also,___ l\/lihalik, 715 F. 3d at 114
Heie Delendant has failed to show that the repeated offensive and discriminatory `

one that could only be reasonably interpreted by a trier of fact as representing no more than petty

slights or trivial inconveniences” P_hilli _ v Gtech Co 20l6 WL 3959729 at *25 (f riding that

 

“an Afr'ican-American plaintiffs personal observation of his supervisor using [a racially-j
derogatory term]~combined >vvith other, secondhand evidence of racial bias»~is sufficient for a-
reasonable gary to conclude that the pla1nt1ff Wa's subjected to more than mere petty slights or
trivial 1nconven1ences)(1nte1nal quotations omitted) See also l\/ielman v Montefiore l\/led. C_t_r_.

98 A D 3d 107 946 (lst Dept 2012)(op1111ng that summary judgment is appropnate 1n NYCHRL _'

cases only if the record establishes as a mattel of law that a reasonable jury could not lind the

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employer liable under any theory); Furfero v. St.v John’s Univ.. 94 A.D.2d 695 (2d Dept.
2012)(same). l

Finaily, it should be noted that the Seco`nd Circuit has cautioned that because the issue of
harassment in a hostile Work environment is a_ “miX'ed question of law and fact_,” it is “especially_
Well-'suited for jury determination.’i--Schiano v. Oualit_v Pavroll S.vs., Inc'., 445 F.3d 597, 605 (2_d .
Cir. 2006) (C\uoting Richard_son v. Ne`w York State'Der)artme_nt of _Co'rrections, 180 F.3d 426, 439
(2d Cir.1999));See also Pattetson v Cntv'. cf Oneida Nevv York 375 F. 3d 206, 227 (2d Cii
2004) (“Where reasonable jurors could disagree as to `Whether alleged incidents of.. .harassment
Would have adversely altered the Working conditions of areasonable employee, the issue of
Whether a-hostile Work environm_ent'ex'isted may not properly be decided as a matter of law.”)
Depa1t6ment lhascz».tutioned that in “border-,lirie ~ca`ses, summary judgment should generally be
_ denied W_illiarns a162. l l n l

For the foregoing reasons, because Piaintiff has estaolrsned net hostile Work envirorn“nent _

claims~under'all applicablelavvs and standards at:issue, Defendant s motion,for summary judgment

should be denied.
POINT IV

Def'endant argues that ll_’laintit"i"1’s Fl\/iLA cla1ims,.:s_l:iould be dismissed jas (i) Plaintiff failed

l to address‘those claims in her prior letters to .Sthie court opposing summary judgment (ii) PlaintifP s '

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request Was not covered protected activity; and (iii) Plaintiff” s request was ultimately granted and
she was paid for her time off. Defendant’s arguments should be rejected

Preliminarily, hiaintiff has not Waived her claims by failing to address them in her non-
binding pre~motion correspondence to the Court._ While it is true that the failure to sufficiently
argue an issue ina dispositive brief constitutes a Waiver of the issue, ,(S¢e YunYu Chen v. l-lolder,
311 Fed.Appx.459, 460 (Z'd Cir. 2(109§), Defendant'has not proffered any support that Plaintifi”s
prior coiresponden_ces With the Court constitute dispositive brief ln fact, the pre-motion letters ~
submitted by.Plaintif_f prior to this motion are not dispositive briefs The current pending,motion

is the dispositive brief and Plaintiff shall address her FMLA claims herein. § M.E.S'. lnc. v.

 

Liberty l\/lut. S_ur. Grp,, 2014 WL 46622, at *8 (E.D.N,Y. Jan. 6, 2014)(n0ting that “significantly
less effort goes into a promotion conference letter than into emotion itselt").

Defe'ndant attempted to preclude Plaintiff from taking time to be With her ill brother and
interfered With Plamtiff’ s right to leave to see her ill brother Specitically, Plaintiff testified that
she requested the time 0_1f to ce vvrth her sic1<l y brother but her request Was denied until Duart_e
engaged her union vizho forced the llospital to grant Plaintifi` s request Accordingly, Del"endant iv j

purposefully interfei ed vvith Plaintiff’s r1ght to FMLA leave

. C.oNCL,UsroN_
For the reasons set forth above, the "Court should deny Defendant’s Motion for Summary,"
Judgment in its entirety.'
Dated.:- Decem__b'er 30,,2`016

. NeW Yorl<;,;NeW"Yorl< ' '- /s/ , `_ `
~ Meg-an sr agana-1111 Esq.

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